Case 8:17-cv-00125-JLS-DFM Document 103 Filed 06/01/18 Page 1 of 8 Page ID #:1901




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      and Lynne Russell, both individually,
   10 and as successors in interest to
      Patrick John Russell
   11
   12                       UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14 PATRICK RUSSELL, as Personal                 Case No.: 17-CV-00125-JLS (DFM)
      Representative of the Estate of Patrick
   15 John Russell and individually; LYNNE         [Honorable Josephine L. Staton]
      RUSSELL, as Personal Representative
   16 of the Estate of Patrick John Russell and
      individually,                                PLAINTIFFS’ [PROPOSED]
   17                                              SPECIAL VERDICT FORM
                    Plaintiffs,
   18                                              FPTC: June 8, 2018
             vs.                                   Trial: July 3, 2018
   19
      COUNTY OF ORANGE; ORANGE
   20 COUNTY SHERIFF-CORONER
      SANDRA HUTCHENS, individually
   21 and in her official capacity; JOSELYN
      LUMITAP, individually; PATTI
   22 TROUT, individually; MARIA
      TEOFILO, individually; THOMAS LE,
   23 individually, and DOES 1 through 10,
      inclusive,
   24
                    Defendants.
   25
   26
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   28
Case 8:17-cv-00125-JLS-DFM Document 103 Filed 06/01/18 Page 2 of 8 Page ID #:1902




    1                       PROPOSED SPECIAL VERDICT FORM
    2
    3         QUESTION 1: Were any of the following Defendants deliberately
    4 indifferent to the medical needs of Mr. Russell?
    5
    6         Jocelyn Lumitap           YES __________            NO ___________
    7         Patti Trout               YES __________            NO ___________
    8         Maria Teofilo             YES __________            NO ___________
    9         Thomas Le, D.O.           YES __________            NO ___________
   10
   11 If you answered “yes” as to any of the Defendants in Question 1, please answer
   12     Question 2 for those Defendants.
   13 If you answered “no” as to all of the Defendants in Question 1, please answer
   14     Question 4.
   15
   16         QUESTION 2: Was the deliberate indifference to the medical needs of Mr.
   17 Russell a cause of pre-death suffering and loss of enjoyment of life to Mr. Russell?
   18
   19         Jocelyn Lumitap           YES __________            NO ___________
   20         Patti Trout               YES __________            NO ___________
   21         Maria Teofilo             YES __________            NO ___________
   22         Thomas Le, D.O.           YES __________            NO ___________
   23
   24 Please proceed to the next question.
   25
   26 / / /
   27 / / /
   28

                                                 -2-                        17-CV-00125-JLS (DFM)
                              PLAINTIFFS’ [PROPOSED] SPECIAL VERDICT FORM
Case 8:17-cv-00125-JLS-DFM Document 103 Filed 06/01/18 Page 3 of 8 Page ID #:1903




    1         QUESTION 3: Was the deliberate indifference to the medical needs of Mr.
    2 Russell a cause of Mr. Russell’s death?
    3
    4         Jocelyn Lumitap           YES __________            NO ___________
    5         Patti Trout               YES __________            NO ___________
    6         Maria Teofilo             YES __________            NO ___________
    7         Thomas Le, D.O.           YES __________            NO ___________
    8
    9 Please proceed to the next question.
   10
   11         QUESTION 4: Were any of the following Defendants negligent towards Mr.
   12 Russell?
   13
   14         Jocelyn Lumitap           YES __________            NO ___________
   15         Patti Trout               YES __________            NO ___________
   16         Maria Teofilo             YES __________            NO ___________
   17         Thomas Le, D.O.           YES __________            NO ___________
   18
   19 If you answered “yes” to any of the Defendants in Questions 4, please answer
   20     Question 5 for those Defendants.
   21 If you answered “no” as to all of the Defendants in Question 4, but answered “yes”
   22     as to any of the Defendants in Questions 2 or 3, please answer Question 6.
   23
   24
   25
   26 / / /
   27 / / /
   28 / / /

                                                 -3-                        17-CV-00125-JLS (DFM)
                              PLAINTIFFS’ [PROPOSED] SPECIAL VERDICT FORM
Case 8:17-cv-00125-JLS-DFM Document 103 Filed 06/01/18 Page 4 of 8 Page ID #:1904




    1        QUESTION 5: Was the negligence a cause of Mr. Russell’s death?
    2
    3        Jocelyn Lumitap           YES __________            NO ___________
    4        Patti Trout               YES __________            NO ___________
    5        Maria Teofilo             YES __________            NO ___________
    6        Thomas Le, D.O.           YES __________            NO ___________
    7
    8 Please proceed to the next question.
    9
   10        QUESTION 6: Did any of the following Defendants fail to summon
   11 reasonable medical care for Mr. Russell?
   12
   13        Jocelyn Lumitap           YES __________            NO ___________
   14        Patti Trout               YES __________            NO ___________
   15        Maria Teofilo             YES __________            NO ___________
   16        Thomas Le, D.O.           YES __________            NO ___________
   17
   18 If you answered “yes” as to any of the Defendants in Question 6, please answer
   19     Question 7 for those Defendants.
   20 If you answered “no” as to all of the Defendants in Question 6, but answered “yes”
   21     as to any of the Defendants in Questions 2 or 3, please answer Question 8.
   22 If you answered “no” as to all of the Defendants in Questions 2, 3, 5 and 6, please
   23     sign and return this form.
   24
   25
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   28

                                                 -4-                       17-CV-00125-JLS (DFM)
                             PLAINTIFFS’ [PROPOSED] SPECIAL VERDICT FORM
Case 8:17-cv-00125-JLS-DFM Document 103 Filed 06/01/18 Page 5 of 8 Page ID #:1905




    1     QUESTION 7: Was the failure to summon reasonable medical care a
    2 substantial factor in causing Mr. Russell’s death?
    3
    4         Jocelyn Lumitap           YES __________            NO ___________
    5         Patti Trout               YES __________            NO ___________
    6         Maria Teofilo             YES __________            NO ___________
    7         Thomas Le, D.O.           YES __________            NO ___________
    8
    9 If you answered “yes” as to any of the Defendants in Questions 2 or 3, please
   10     answer Question 8.
   11 If you answered “no” as to all of the Defendants in both Questions 2 and 3, but
   12     answered “yes” as to any of the Defendants in either Question 5 or 6, please
   13     answer Question 8.
   14
   15         QUESTION 8: What are Mr. Russell’s damages for pain and suffering, and
   16 loss of enjoyment of life?
   17
   18                                         $ ____________________
   19
   20 If you answered “yes” as to any of the Defendants in Questions 3, 5, or 7, please
   21     answer Question 9.
   22
   23
   24
   25 / / /
   26 / / /
   27 / / /
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                                                 -5-                        17-CV-00125-JLS (DFM)
                              PLAINTIFFS’ [PROPOSED] SPECIAL VERDICT FORM
Case 8:17-cv-00125-JLS-DFM Document 103 Filed 06/01/18 Page 6 of 8 Page ID #:1906




    1         QUESTION 9: What are Plaintiffs’ damages for the past and future loss of
    2 their son?
    3
    4                     Patrick Russel:
    5                     Past loss          $ ____________________
    6                     Future loss        $ ____________________
    7
    8                     Lynne Russel:
    9                     Past loss          $ ____________________
   10                     Future loss        $ ____________________
   11
   12 If you answered “yes” as to any of the Defendants in either Questions 2 or 3, please
   13     proceed to Question 10.
   14 If you answered “no” as to all of the Defendants in both Questions 2 and 3, please
   15     proceed to Question 14.
   16
   17         QUESTION 10: Did the County of Orange have inadequate training with
   18 respect to handling situations of serious medical needs for individuals in custody?
   19
   20                                   YES __________           NO ___________
   21
   22 If you answered “yes” to Question 10, please proceed to Question 11.
   23 If you answered “no” to Question 10, please proceed to Question 12.
   24
   25
   26 / / /
   27 / / /
   28 / / /

                                                -6-                        17-CV-00125-JLS (DFM)
                             PLAINTIFFS’ [PROPOSED] SPECIAL VERDICT FORM
Case 8:17-cv-00125-JLS-DFM Document 103 Filed 06/01/18 Page 7 of 8 Page ID #:1907




    1         QUESTION 11: Was the County of Orange’s failure to train its medical
    2 staff employees the moving force behind the injury or harm to Mr. Russell?
    3
    4                                 YES __________            NO ___________
    5
    6 Please proceed to the next question.
    7
    8         QUESTION 12: Did the County of Orange have an unconstitutional policy,
    9 custom or practice?
   10
   11                                 YES __________            NO ___________
   12
   13 If you answered “yes” to Question 12, please proceed to Question 13.
   14 If you answered “no” to Question 12, please proceed to Question 14.
   15
   16         QUESTION 13: Was the County of Orange’s unconstitutional policy,
   17 custom or practice the moving force behind injury or harm to Mr. Russell?
   18
   19                           YES __________           NO ___________
   20
   21 Please proceed to the next question.
   22
   23
   24
   25
   26 / / /
   27 / / /
   28

                                               -7-                        17-CV-00125-JLS (DFM)
                            PLAINTIFFS’ [PROPOSED] SPECIAL VERDICT FORM
Case 8:17-cv-00125-JLS-DFM Document 103 Filed 06/01/18 Page 8 of 8 Page ID #:1908




    1        QUESTION 14: Did any of the Defendants act with malice, oppression, or
    2 reckless disregard for Mr. Russell’s rights?
    3
    4        Jocelyn Lumitap           YES __________            NO ___________
    5        Patti Trout               YES __________            NO ___________
    6        Maria Teofilo             YES __________            NO ___________
    7        Thomas Le, D.O.           YES __________            NO ___________
    8
    9
   10
   11 Please sign and date this verdict form and return it to the Court.
   12
   13 Dated:        ________________          Signed:     ______________________
   14                                                           Jury Foreperson
   15
   16
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                                                 -8-                       17-CV-00125-JLS (DFM)
                             PLAINTIFFS’ [PROPOSED] SPECIAL VERDICT FORM
